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 1                                                               The Honorable Ricardo S. Martinez
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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8   STATE OF WASHINGTON,                                  NO. 2:20-cv-01070-RSM
 9                             Plaintiff,                  NOTICE OF SUPPLEMENTAL
                                                           AUTHORITY
10          v.
11   UNITED STATES DEPARTMENT OF
     HOMELAND SECURITY;
12   IMMIGRATION AND CUSTOMS
     ENFORCEMENT; CHAD F. WOLF, in his
13   official capacity as Acting Secretary of the
     U.S. Department of Homeland Security;
14   and MATTHEW ALBENCE, in his official
     capacity as Acting Director of U.S.
15   Customs and Immigration Enforcement,
16                             Defendants.
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18          Pursuant to LCR 7(n), Plaintiff State of Washington hereby notifies the Court of a

19   development in a related case in the United States District Court for the District of

20   Massachusetts, President and Fellows of Harvard College and Massachusetts Institute of

21   Technology v. U.S. Department of Homeland Security, et al., No. 1:20-cv-11283. During a

22   hearing this afternoon, the Court in Harvard College announced that the parties had reached an

23   agreement and that the federal defendants would be rescinding ICE’s July 6, 2020 Directive and

24   related guidance and that the prior March 2020 guidance would remain in effect. Counsel for the

25   federal defendants in the Harvard College case confirmed this agreement in open court. The

26   Court’s docket contains the following notation:



       NOTICE OF SUPPLEMENTAL                          1              ATTORNEY GENERAL OF WASHINGTON
                                                                           Complex Litigation Division
       AUTHORITY                                                            800 5th Avenue, Suite 2000
       NO. 2:20-cv-01070-RSM                                                 Seattle, WA 98104-3188
                                                                                  (206) 464-7744
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 1          The Court was informed by the parties that they have come to a resolution to the
            combined temporary restraining order/preliminary injunction motions. The
 2
            Government has agreed to rescind the July 6, 2020 Policy Directive and the July 7,
 3          2020 FAQ, and has also agreed to rescind their implementation. The Government
            will return to the March 9, 2020 and March 13, 2020 policy. This moots the
 4          temporary restraining order/preliminary injunction motions, [ECF Nos. 4, 30], and
            will preclude enforcement of the July 6, 2020 policy directive and July 7, 2020
 5          FAQ, which are being rescinded on nationwide basis.
 6   Harvard College, No. 1:20-cv-11283 (D. Mass.) (Dkt. # 119) (Jul. 14, 2020).
 7          As of this filing, the July 6, 2020 Directive and related guidance are still posted on ICE’s
 8   website and do not appear to have been formally rescinded. The State’s position is that absent a
 9   formal rescission or confirmation on the record in this case that the July 6, 2020 Directive and
10   related guidance will promptly be rescinded, so as to provide complete relief to the State, the
11   State’s pending motion for a temporary restraining order should proceed.
12          DATED this 14th day of July, 2020.
13

14                                                   ROBERT W. FERGUSON
                                                     Attorney General
15

16                                                   /s/ Lauryn K. Fraas
                                                     LAURYN K. FRAAS, WSBA No. 53238
17                                                   KRISTIN BENESKI, WSBA No. 45478
                                                     SPENCER W. COATES, WSBA No. 49683
18                                                   Assistant Attorneys General
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20                                                   Attorneys for Plaintiff State of Washington

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       NOTICE OF SUPPLEMENTAL                           2               ATTORNEY GENERAL OF WASHINGTON
                                                                             Complex Litigation Division
       AUTHORITY                                                              800 5th Avenue, Suite 2000
       NO. 2:20-cv-01070-RSM                                                   Seattle, WA 98104-3188
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